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 3   Telephone: (916) 444-9845
 4   Attorneys for Defendant,
     JONATHAN AUSTIN
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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No.: 2:11-CR-276 JAM
12               Plaintiff,                     STIPULATION AND ORDER
                                                CONTINUING SENTENCING HEARING
13        vs.
14   JONATHAN AUSTIN,
15               Defendant.
16
17        The United States of America, through its counsel Assistant
18   U. S. Attorney Jason S. Hitt, and defendant Jonathan Austin,
19   through his counsel Clyde M. Blackmon, stipulate that the
20   sentencing hearing in this matter now scheduled for April 30,
21   2013, at 9:45 a.m., may be continued to February 25, 2014, at
22   9:45 a.m.
23        A continuance of the sentencing hearing is necessary
24   because, while Mr. Austin’s case has been resolved by way of a
25   guilty plea, the charges against some other defendants in the
26   case, or related cases, are still pending and information
27   pertaining to the resolution of the charges against those
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                  STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
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 1   defendants may be helpful to the Court in fashioning a sentence
 2   for Mr. Austin.    Therefore, the parties request that the
 3   sentencing hearing for Mr. Austin be continued to February 25,
 4   2014, at 9:45 a.m.
 5        IT IS SO STIPULATED.
 6   DATED:   April 25, 2013           By: /s/ Clyde M. Blackmon for__
                                               Jason S. Hitt
 7                                             Assistant U.S. Attorney
 8
     DATED:   April 25, 2013           By:_/s/ Clyde M. Blackmon___
 9                                             CLYDE M. BLACKMON,
                                               ROTHSCHILD WISHEK & SANDS
10                                             LLP, Attorneys for
11                                             Defendant JONATHAN AUSTIN

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                 STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
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 1                                     ORDER
 2        Good cause appearing upon the stipulation of the parties,
 3   it is ordered that the hearing regarding the imposition of
 4   judgment and sentence upon Jonathan Austin now scheduled for
 5   April 30, 2013, is continued to 9:45 a.m. on February 25, 2014.
 6        IT IS SO ORDERED:
 7   DATED:   4/25/2013                /s/ John A. Mendez________________
                                       JOHN A. MENDEZ
 8                                     United States District Court Judge
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                 STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
